Case 2:05-cr-20016-.]P|\/| Document 33 Filed 08/17/05 Page 1 of 5 Page|D 46

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CifRi§ U_§. B:Si»“:lt:i count
.v. 2:050R20016-01-Mi fla G: i,-;-;»il.DHis

KENNETH DRAFF|N
Stephen A. Sauerl CJA
Defense Attorney
8 South Third Street, 4th F|oor
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on May 20, 2005. According|yl
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section MM.§M Offense Number(sj
Concluded
18 U.S.C. § 922(9) Fe|on in Possession of a Firearm 10/19/2004 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/20/1972 August 17, 2005
Deft's U.S. |Vlarshal No.: 20105-076

Defendant’s Mai|ing Address:
3865 Orchi Road
|V|emphis, TN 38108

/e@lm‘l&l

JON PH|PPS |VlcCALLA
UN|T STATES DiSTRlCT JUDGE

August [? , 2005

 

This document entered cm the docket sheet in cgrnplianca
with mile 58 and/or rs(a) FacP on '/ '@ '

 

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Case No: 2:050R20016-01-Mi Defendant Name: Kenneth DRAFF|N Page 2 of 4
IMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 Months (or 2 Years and 6 Months).

The Court STRONGLY recommends to the Bureau of Prisons: Due to the
defendant’s particular need for drug rehabiiitation, the defendant be allowed to
participate in the 500-hour intensive drug rehabilitation program while incarcerated

The defendant is remanded to the custody of the United States Marshai.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

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Case No: 2:05CR20016-01-Mi Defendant Name: Kenneth DRAFF|N Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921 .

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicia| district without the permission of the court or probation ofncer;

2. The defendant shall report to the probation officer as directed by the court or probation ofEcer and shall
submit a truthful and complete written report within the first Hve days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawqu occupation unless excused by the probation ofhcer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, usedl
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a feiony unless granted permission to do so by the probation ofhcer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit conhscatton of any contraband observed in plain view by the probation ofhcer;

10. The defendant shall notify the probation ofhcer within 72 hours of being arrested or questioned by a

Case 2:05-cr-20016-.]Pi\/| Document 33 Filed 08/17/05 Page 4 of 5 PageiD 49

Case No: 2:05CR20016-01-Ml Defendant Name: Kenneth DRAFF|N Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall submit to drug, alcohol and mental health testing and treatment
programs as directed by the Probation Office.

The defendant shall be prohibited from possessing and consuming any alcohol

The defendant shall cooperate with DNA collection as directed by the Probation Oflice.
The defendant shall seek and maintain lull-time employment

The defendant shall enroll in Literacy and Generai Equiva|ency Dipioma (G.E.D.)programs.

.U":‘*S'°!‘°

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Scheduie of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth clay after the date of judgment, pursuant to 18 U.S.C. § 3612(f). A|| of the payment
options in the Scheduie of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$100.00

The Special Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUTION
No Restitution was ordered.

S DRISTIC COURT - WETERN DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-200]6 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

i\/lemphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

